          Case 7:20-mj-01480-UA Document 28 Filed 01/12/21 Page 1 of 6




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 United States of America
                                                              Deferred Prosecution Agreement
                     v.
 Leigh F. Murray,                                                                   20 Mag. 1480

                               Defendant.

TO: Leigh F. Murray

       On February 10, 2020, a United States Magistrate Judge sitting in the Southern District of
New York issued an arrest warrant based on a criminal complaint charging you with international
parental kidnapping, in violation of Title 18, United States Code, Section 1204.

         You hereby admit the allegations in the February 10, 2020 complaint. Specifically, on or
about September 26, 2019, after you were charged with driving while intoxicated in violation of
the New York Vehicle and Traffic Law, the East Fishkill Town Court issued a temporary order of
protection requiring you to stay away from your then-four-year-old son (“J.M.P.”) except for
contact, communication or access permitted by a subsequent order issued by a family or supreme
court. J.M.P.’s father had sole custody of J.M.P. thereafter. On or about November 20, 2019, a
New York Family Court sitting in Putnam County issued an order granting you, among other
things, one supervised visit per week with J.M.P. On or about January 26, 2020, during one such
supervised visit, you kidnapped J.M.P. Rather than return J.M.P. to his father at the end of your
visit, you took J.M.P. on an international flight to Dublin, Ireland.

        In addition to the facts set forth in the February 10, 2020 complaint, you also admit the
following facts. First, when you took J.M.P. to Ireland, you did not intend to return him to his
father in the United States. Second, when you took J.M.P. to Ireland, you knew that J.M.P.’s father
had custody of J.M.P. under New York law, and that you were prohibited from taking J.M.P. away
from his father or out of the country, pursuant to the temporary order of protection and family
court order described above. Third, when you took J.M.P. to Ireland, you knew it was a violation
of law to take J.M.P. away from his father and out of the country. Fourth, you kept J.M.P. in
Ireland until June 2020, and only agreed to return him after you were arrested and extradition
proceedings commenced in Ireland.

       Although you have admitted to this conduct, it has been determined that the interest of the
United States and your own interest will best be served by deferring prosecution in this District.
Prosecution will be deferred during the term of your good behavior and satisfactory compliance
with the terms of this agreement.

       You and the United States agree that, at all times after you sign this agreement, you have
the opportunity to leave the United States, and that solely for purposes of Article XI of the Treaty
on Extradition between the United States and Ireland and The Instrument contemplated by Article
3(2) of the Agreement on Extradition between the United States of America and the European
Union signed June 25, 2003, as to the application of the Treaty on Extradition between the United
           Case 7:20-mj-01480-UA Document 28 Filed 01/12/21 Page 2 of 6




States and Ireland, this agreement constitutes final discharge in respect of the offense for which
you were extradited from Ireland to the United States on or about June 24, 2020.

       For the period of one year from the signing of this agreement, 1 you will comply with the
below terms and conditions constituting your good behavior:

    (1)   You shall refrain from violation of any law (federal, state and local). You shall
          immediately contact your U.S. Pretrial Services Officer if arrested or questioned by a
          law-enforcement officer.

    (2)   You shall associate only with law-abiding persons.

    (3)   You shall work regularly at a lawful occupation, regularly attend school, and/or support
          your legal dependents, if any, to the best of your ability. When out of work or not
          attending school you shall notify your supervising U.S. Pretrial Services Officer. You
          shall consult him or her prior to job and school changes.

    (4)   You shall not leave the Southern District of New York without permission of your
          supervising U.S. Pretrial Services Officer. You understand and agree, however, that you
          could seek approval from your supervising U.S. Pretrial Services Officer to travel,
          including travel outside of the United States.

    (5)   You shall notify your supervising U.S. Pretrial Services Officer immediately of any
          change in your place of residence.

    (6)   You shall follow your supervising U.S. Pretrial Services Officer’s instructions and
          advice.

    (7)   You shall report to your supervising U.S. Pretrial Services Officer as directed.

    (8)   You shall participate in substance abuse treatment as directed by your supervising U.S.
          Pretrial Services Officer.

    (9)   You shall not use alcohol at any time.

    (10) You shall not use or unlawfully possess any narcotic drug or other controlled substances
         defined in 21 U.S.C. § 802, unless prescribed to you by a licensed medical practitioner.

    (11) You shall submit to testing for prohibited substances if required by your supervising U.S.
         Pretrial Services Officer, which testing may be used with random frequency and may
         include urine testing, the searing of a sweat patch, a remote alcohol testing system, and/or
         any other form of prohibited substance screening or testing. You shall not obstruct,

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  The parties agree that this one-year period will not be tolled during any period in which you are
incarcerated in connection with conduct that occurred before you signed this agreement.
                                                                                             07.29.2012
           Case 7:20-mj-01480-UA Document 28 Filed 01/12/21 Page 3 of 6




         attempt to obstruct, or tamper with the efficiency and accuracy of prohibited substance
         screening or testing.

   (12) You shall comply with all orders issued by any Family Court and any New York State
        Court, and with all conditions imposed by the New York Office of Children and Family
        Services and any other state or local child protective services authority.

   (13) You shall comply with all restrictions on any driver’s license(s), and to the extent any
        restrictions are or would be imposed on any New York State driver’s license, you shall
        refrain from seeking or obtaining a driver’s license in any other state.


In addition, you and the United States agree to the following special conditions:

        The United States Attorney may at any time revoke or modify any condition of this
provisional release or change the period of such supervision. The United States Attorney may
discharge you from supervision at any time. The United States Attorney may at any time proceed
with the prosecution for this offense should the United States Attorney, in his or her sole discretion,
deem such action advisable.

        If upon completion of your supervision a written report from your supervising U.S. Pretrial
Services Officer is received to the effect that you have complied with all the rules, regulations and
conditions and special conditions applicable to your deferred prosecution, no further prosecution
will be instituted in this District for the above offense.

Dated: White Plains, New York
       January 7, 2021


                                                           AUDREY STRAUSS
                                                           Acting United States Attorney for the
                                                           Southern District of New York



                                                     By: ____________________________
                                                         Derek Wikstrom
                                                         Assistant United States Attorney
                                                         Tel.: (914) 993-1946




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Case 7:20-mj-01480-UA Document 28 Filed 01/12/21 Page 4 of 6
          Case 7:20-mj-01480-UA Document 28 Filed 01/12/21 Page 5 of 6




        The undersigned hereby consents to the foregoing and expressly waives any and all rights
to a speedy trial pursuant to the Sixth Amendment to the United States Constitution, the Speedy
Trial Act, 18 U.S.C. §§3161 et seq., and any other pertinent provisions, and consents to the
adjournment of all pending proceedings in this case. The undersigned further waives the
applicable statute of limitations with respect to any prosecution that is not time-barred on the date
that this agreement is signed. It is the intent of this provision to toll the applicable statute of
limitations during the pendency of the deferred prosecution.

Dated: White Plains, New York
       January ___, 2021



____________________________                              ____________________________
Susanne Brody, Esq.                                       Leigh F. Murray
Attorney for Defendant                                    Defendant




       Pursuant to 18 U.S.C. §3161(h)(2), exclusion under the Speedy Trial Act of the period of
time during which the prosecution of the defendant is deferred pursuant to this agreement is hereby
approved.

Dated: White Plains, New York
       January___, 2021


                                                          ____________________________
                                                          Judith C. McCarthy
                                                          United States Magistrate Judge




       The undersigned hereby consents to the foregoing and will accept supervision of the
above-named defendant on the conditions set forth herein.
Dated: White Plains, New York
       January ___, 2021

                                                          ____________________________
                                                          Leo Barrios
                                                          United States Pretrial Services Officer

                                                                                             07.29.2012
          Case 7:20-mj-01480-UA Document 28 Filed 01/12/21 Page 6 of 6




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       January ___, 2021



____________________________                              ____________________________
Susanne Brody, Esq.                                       Leigh F. Murray
Attorney for Defendant                                    Defendant




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Dated: White Plains, New York
               12 2021
       January___,


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                                                          Judith C. McCarthy
                                                          United States Magistrate Judge




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above-named defendant on the conditions set forth herein.
Dated: White Plains, New York
       January ___, 2021

                                                                                   Vincent B. Adams for Leo Barrios
                                                          ____________________________
                                                          Leo Barrios
                                                          United States Pretrial Services Officer

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